          EXHIBIT 3




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                             COMPARISON CHART
                PLAINTIFFS’ AND DEFENDANTS’ PROPOSED DATES

 Event                                     Plaintiffs’ Proposal       Defendants’ Proposal
 Preliminaries and Disclosures
 Scheduling Conference                                    February 16, 2024
 Discovery requests may be served                         February 16, 2024
 Initial Disclosures                                      February 26, 2024
 Plaintiffs requests that Defendants       March 15, 2024           Defendants do not agree
 produce all docs and correspondence as
 of Feb. 29, 2024 produced to DOJ,
 FTC, Congress, any State AG, and/or
 any other state or federal regulatory
 agency, or any document disco, white
 papers, narratives, or any other disco
 provided to regulators re RMS
 Attachment 1 Disclosures                  April 1, 2024            Defendants do not agree
 Deadline to begin meet and confer                          March 11, 2024
 about custodians

 Mediation
 Mediation                                                  March 15, 2024
                                                             April 8, 2024

 Document and Data Production
 Parties begin rolling productions of       April 26, 2024 or within 60 days of receipt of the
 documents from non-custodial sources                   request, whichever is later
 Parties begin rolling productions of           No later than 60 days of finalization of all
 documents from custodial sources           custodians; provided, however, that if the Parties
                                            have a dispute over any specific custodian, the 60
                                              day deadline for that custodian will start upon
                                                        resolution of any impasse
 Defendants produce Sample Structured                          May 1, 2024
 Data
 *subject to receipt of and meet and
 confer regarding data request
 Plaintiffs raise questions about sample                      June 5, 2024
 structured data production
 Defendants to respond to questions                           July 10, 2024
 about sample structured data
 Defendants complete production of                          October 25, 2024
 structured data




                                               1
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     Event                                       Plaintiffs’ Proposal     Defendants’ Proposal
     Completion of Document Productions 1                         March 28, 2025

     Last Day to Serve RFAs 2                                      August 21, 2025

     Fact Discovery Cut-Off                                       November 21, 2025

     Expert Discovery and Class
     Certification (*Reports must comply
     with Rule 26 (a)(2)(B)(i)).
     All Parties must serve all expert reports   February 19, 2026
     on issues on which they have the
     burden of proof (including class and
     merits issues) (“Opening Reports”)
     All Parties must serve opposition           April 20, 2026
     expert reports (“Rebuttal Reports”)
     All Parties must serve reply expert         June 4, 2026
     reports (“Reply Reports”)

     Plaintiffs’ Class Certification Motion      July 20, 2026              August 15, 2025 (plus
                                                                            class certification expert
                                                                            reports)
     Defendants’ Opposition                      September 7, 2026          November 21, 2025
                                                                            (plus class certification
                                                                            expert reports)
     Plaintiffs’ Reply Brief                     October 7, 2026            January 16, 2026
                                                                            (plus class certification
                                                                            expert reports)

     Daubert Motions for Experts
     Daubert Motions                             July 20, 2026 (class and   November 21, 2025
                                                 merits Opening Reports)    (Plaintiffs’ class report)
                                                 September 7, 2026          January 16, 2026
                                                 (class and merits          (Defendants’ class
                                                 Rebuttal Reports)          report)




 1
   Plaintiffs have proposed that this deadline is for full and complete production of documents.
 Defendants have proposed that this is a deadline for substantial completion of document
 production.
 2
   This deadline excludes RFAs not related to authenticity and admissibility.
                                                     2
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 Event                                   Plaintiffs’ Proposal         Defendants’ Proposal
 Daubert Oppositions                     September 7, 2026            January 16, 2026
                                         (class and merits            (Plaintiffs’ class report)
                                         Opening reports)             February 20, 2026
                                         October 7, 2026 (class       (Defendants’ class
                                         and merits Rebuttal          report)
                                         Reports)

 Daubert Replies                         October 7, 2026 (class       February 20, 2026
                                         and merits)                  (Plaintiffs’ class report)
                                         November 6, 2026             March 23, 2026
                                         (class and merits            (Defendants’ class
                                         Rebuttal Reports)            report)

 Hearings on Class Certification and
 Daubert
 Hearing(s) on Class Certification       November 2026                April 2026 (on class
 motion and Daubert motions              (includes Daubert on         certification and
                                         class and merits expert      Daubert class reports
                                         reports)                     only)


 Defendants’ Proposal for Merits
 Expert Reports and Deposition
 (Reports must comply with Rule 26
 (a)(2)(B)(i)
 Plaintiffs’ Reports Due                                              June 19, 2026
 Defendants’ Reports Due                                              August 14, 2026
 Reply Reports Due                                                    September 18, 2026
 Daubert Motions Due                                                  October 23, 2026
 Daubert Oppositions Due                                              December 18, 2026
 Daubert Replies Due                                                  January 22, 2027

 Daubert Oral Arguments                                               TBD by Court


 Motions for Summary Judgment
 Parties file any Motions for Summary    March 1, 2027                April 16, 2027
 Judgment
 Parties file Responses to MSJs          April 30, 2027               May 28, 2027
 Parties file Replies to MSJ Responses   June 14, 2027                June 25, 2027
 MSJ Oral Arguments                      July 2027                    TBD by court




                                             3
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 Event                                   Plaintiffs’ Proposal      Defendants’ Proposal
 Second Mediation
 Last Day to Mediate                     August 13, 2027

 TRIAL
 Trial of Tennessee actions and remand   October 1, 2027 or        75-100 days after ruling
 for others                              shortly thereafter        on MSJ




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